Dear Auditor Montee:
This office received your letter of July 27, 2009, submitting a fiscal note and fiscal note summary prepared under § 116.175, RSMo, for an initiative petition (version 1) submitted by Todd Jones regarding a proposed constitutional amendment to Article III, Section 38 of the Missouri Constitution. The fiscal note summary that you submitted is as follows:
  This proposal could have a significant negative fiscal impact on state and local governmental entities if state funds for certain research activities are eliminated, reduced, denied, or withheld. However, the total costs to state and local governmental entities are unknown.
Under § 116.175.4, RSMo, we approve the legal content and form of the fiscal note summary. Because our review of the fiscal note summary is mandated by statute, no action that we take with respect to such review should be construed as an endorsement of the petition or as the expression of any view regarding the objectives of its proponents.
                                                         Very truly yours,
                                                         _________________ CHRIS KOSTER Attorney General *Page 1 